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                                                                         2016 Oct-05 PM 02:41
                                                                         U.S. DISTRICT COURT
                                                                             N.D. OF ALABAMA


                       United States District Court
                       Northern District of Alabama
                            Southern Division

UNITED STATES OF AMERICA,                ]
                                         ]
     Plaintiff,                          ]
                                         ]
     vs.                                 ]
                                         ] 16-CR-182-LSC-JEO
RICHARD ALAN HENDERSON and               ]
PHILIP HENRY COOPER                      ]
      Defendant.                         ]

              Order Accepting Report and Recommendation

     This Court has reviewed the Report and Recommendation of the

Honorable John E. Ott, United States Magistrate Judge [Doc. 29] entered

the 17th day of August, 2016, as well as the objections to the Report and

Recommendation made by the defendants. This Court has made a de

novo determination of those findings and portions objected to by the

defendant in this case as well as all of the issues addressed in the Report

and Recommendation.

     It is Ordered that the Report and Recommendation of the Honorable

John E. Ott, United States Magistrate Judge [Doc. 29] be and hereby is

accepted as entered. This court adopts the Report and Recommendation
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as the Order of this court as if the same were set forth at this point in

extenso. The objections made by the defendant are overruled. The

Motion to Dismiss or in the Alternative for a Bill of Particulars [Doc. 24] is

Denied.

      Done this 5th day of October 2016.



                                                                    2620


                                          L. SCOTT COOGLER
                                     UNITED STATES DISTRICT JUDGE
